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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

UNITED STATES OF AMERICA,         §
  Plaintiff,                      §
                                  §
v.                                §                       CASE NO. 7:20-CV.-00021
                                  §
2.749 ACRES OF LAND, MORE OR LESS,§
SITUATED IN HIDALGO COUNTY,       §
STATE OF TEXAS; AND HELEN         §
CATHERINE HARDWICKE ET AL.,       §
   Defendants.                    §


        NEUHAUS & SONS, LLC’S DISCLOSURE OF INTERESTED PARTIES


       NOW COMES, Neuhaus & Sons, LLC and hereby certifies that the following

persons or entities have a financial interest in the outcome of this litigation:

       1.     Neuhaus & Sons, LLC; and

       2.     Lance Neuhaus, owner of Neuhaus & Sons, LLC.


                                           Respectfully submitted,

                                           JONES, GALLIGAN, KEY & LOZANO, L.L.P.


                                           By:    _______________________________
                                                  LANCE A. KIRBY
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                                                  Attorney in Charge for Defendant,
                                                  Neuhaus & Sons, LLC


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                              CERTIFICATE OF SERVICE

              I certify that on February 18, 2020, a copy of the foregoing was electronically

filed using the CM/ECF system, which will automatically serve a Notice of Filing on the

following attorneys:

       Hilda M. Garcia Concepcion
       Assistant United States Attorney
       1701 W. Bus. Highway 83, Suite 600
       McAllen, Texas 78501


                                                 ________________________________
                                                 LANCE A. KIRBY




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